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Cc:        Devon Archer <darcher@rosemontseneca.com>
From:      Bevan <btcooney@gmaii.com>
Subject:   Re: Wilma Standing Bear and Geneva Lone Hill have fully executed the agreements
Sent:      Fri, 15 Aug 2014 20:52:41 -0700
To:        jason gaianis <jason@holmbycompanies.com>

This is pure Genius alia mikey Milken!! The Native American Bonds!! Leon Black would approve of this trade!! Right up his
alley!! Love the names!! I had a girl named Tiffany Lame Woman pull a knife on me when I was in 8th grade!! Great work
here Greek!!

Sent from my iPhone.

On Aug 15, 2014, at 8:25 PM, jason gaianis <jason@holmbycompanies.com> wrote:


       <8signatures08112014. pdf>




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                                                                                                                                     16 Cr. 371 (RA)




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